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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

IN RE:        FEMA TRAILER                        *     MDL NO. 1873
              FORMALDEHYDE PRODUCTS               *
              LIABILITY LITIGATION                *     SECTION “N” (5)
                                                  *
                                                  *     JUDGE ENGELHARDT
                                                  *     MAGISTRATE CHASEZ
                                                  *
THIS DOCUMENT IS RELATED TO                       *
                                                  *
Member Case No. 09-2892,                          *
Fifth Circuit Case No. 10-30349;                  *

*************************************************************
  JOINT RECORD DESIGNATIONS FOR FIFTH CIRCUIT APPELLATE REVIEW

         NOW INTO COURT, through the undersigned counsel, come Plaintiff, Alana

Alexander on behalf of her minor child, Christopher Cooper, and Defendants, Gulf

Stream Coach, Inc. and Fluor Enterprises, Inc., who submit the following record

designations pursuant to direction from the Court of Appeals for the Fifth Circuit.

Designation of Plaintiff Alana Alexander on behalf of her minor child, Christopher
Cooper:

         1.     Case No. 2:09-cv-2892 - Doc #1, 1-2, 1-3 - Complaint for Damages, Age et al
                v. Gulf Stream Coach, et al;
         2.     Case No. 2:07-MD-1873 - Doc #1686 - Third Supplemental and Amended
                Complaint filed by Alana Alexander, individually and on behalf of her
                minor child, Christopher Cooper;
         3.     Case No. 2:07-MD-1873 - Doc #1762 - Order and Reasons;
         4.     Case No. 2:07-MD-1873 - Doc #2410, 2410-1, 2410-2, 2410-3, 2410-4, 2401-5,
                2410-6, 2410-7, 2410-8, 2410-9, 2410-10, 2410-11 - Defendant Gulf Stream
                Coach, Inc.’s Motion for Summary Judgment on Government Contractor
                Defense, Memorandum in Support, and Exhibits
         5.     Case No. 2:07-MD-1873 - Doc #2493-1 - Alana Alexander Declaration;
         6.     Case No. 2:07-MD-1873 - Doc #2743, 2743-1, 2743-2, 2743-3, 2743-4, 2743-5,
                2743-6, 2743-7 - Defendant Fluor Enterprises, Inc.’s Motion for Partial
                Summary Judgment Regarding Claims Against It Under the Louisiana
                Products Liability Act, Memorandum in Support, and Exhibits;


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  7.    Case No. 2:07-MD-1873 - Doc #2802, 2802-1, 2802-2, 2802-3, 2802-4, 2802-5,
        2802-6, 2802-7, 2802-8, 2802-9, 2802-10, 2802-11, 2802-12, 2802-12, 2802-13,
        2802-14 - Defendant Fluor Enterprises, Inc.’s Motion for Summary
        Judgment on Government Contractor Defense, Memorandum in Support,
        and Exhibits;
  8.    Case No. 2:07-MD-1873 - Doc #2884, 2884-1, 2884-2, 2884-3, 2884-4,
        Plaintiff’s Response to Fluor Enterprises, Inc. Motion for Partial Summary
        Judgment Regarding Claims Against It Under the Louisiana Products
        Liability Act, and Exhibits;
  9.    Case No. 2:07-MD-1873 - Doc #2889, 2889-1, 2889-2, 2889-3, 2889-4, 2889-5,
        2889-6 - Plaintiff’s Response to Defendant Fluor Enterprises, Inc. Motion
        for Summary Judgment on Government Contractor Defense, and Exhibits;
  10.   Case No. 2:07-MD-1873 - Doc #2890, 2890-1, 2890-2, 2890-3, 2890-4, 2890-5,
        2890-6, 2890-7, 2890-8, 2890-9, 2890-10, 2890-11, 2890-12, 2890-13, 2890-14,
        2890-15 - Plaintiff’s Response to Defendant Gulf Stream Coach, Inc.
        Motion for Summary Judgment on Government Contractor Defense, and
        Exhibits;
  11.   Case No. 2:07-MD-1873 - Doc #3076 - Order and Reasons;
  12.   Case No. 2:07-MD-1873 - Doc #3205 - Order and Reasons;
  13.   Case No. 2:07-MD-1873 - Doc #3217 - Order and Reasons;
  14.   Case No. 2:07-MD-1873 - Doc #3682, 3682-1 - Plaintiff’s Motion for
        Judgment as a Matter of Law Relating to Gulf Stream and Memorandum
        in Support;
  15.   Case No. 2:07-MD-1873 - Doc #5609, 5609-1, 5609-2, 5609-3, 5609-4, 5609-5,
        5609-6, 5609-7, 5609-8, 5609-9, 5609-10, 5609-11, 5609-12, 5609-13, 5609-14,
        5609-15, 5609-16 - Plaintiff’s Motion for New Trial or, Alternatively, for
        Relief from Judgment, Memorandum in Support, and Exhibits;
  16.   Case No. 2:07-MD-1873 - Doc #6800, Defendant Fluor Enterprises, Inc.’s
        Response to Plaintiff’s Motion for New Trial or, Alternatively, for Relief
        from Judgment, Memorandum in Support, and Exhibits;
  17.   Case No. 2:07-MD-1873 - Doc #7111, Defendant Gulf Stream Coach Inc.’s
        Response to Plaintiff’s Motion for New Trial or, Alternatively, for Relief
        from Judgment, Memorandum in Support, and Exhibits;
  18.   Case No. 2:07-MD-1873 - Doc #8864 – Appeal Transcript of Jury Trial
        Proceedings held on September 14, 2009;
  19.   Case No. 2:07-MD-1873 - Doc #8868 – Appeal Transcript of Motion
        Proceedings held on September 14, 2009;
  20.   Case No. 2:07-MD-1873 - Doc #8870 – Appeal Transcript of Jury Trial
        Morning Proceedings held on September 15, 2009;


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      21.    Case No. 2:07-MD-1873 - Doc #13149 - Order and Reasons;
      22.    Case No. 2:07-MD-1873 - Doc #13200 - Notice of Appeal.
      23.    Case No. 2:07-MD-1873 – Appeal Transcript of Jury Instructions,
             September 24, 2009 - Pursuant to Fed. R. App. P. 10(b)(3), Plaintiff has
             filed and served upon Defendants a designation that this transcript is to
             be ordered – Doc #14128.
Designations of Fluor Enterprises Inc.
      1.     Case No. 2:07-MD-1873 – Doc. #109 – Administrative Master Complaint
      2.     Case No. 2:07-MD-1873 – Doc. #717 – Order and Reasons granting in part
             and denying in part Motion to Dismiss Plaintiff’s FTCA and contract
             claims for lack of subject matter jurisdiction
      3.     Case No. 2:07-MD-1873 – Doc. #1545, 1545-4, 1545-10, 1545-22 – Motion to
             Dismiss Plaintiff’s FTCA claims for lack of subject matter jurisdiction by
             United States of America and various exhibits
      4.     Case No. 2:07-MD-1873 – Doc. #2106 – Fluor Enterprises Inc.’s Requested
             Jury Instructions
      5.     Case No. 2:07-MD-1873 – Doc. #2306 – Plaintiff’s Objections to Fluor
             Enterprises Inc.’s Requested Jury Charges
      6.     Case No. 2:07-MD-1873 – Doc. #2605 – Order severing the claims of Alana
             Alexander, individually and on behalf of Christopher Cooper
      7.     Case No. 2:07-MD-1873 – Doc. #2728, 2728-2, 2728-3, 2728-4, 2728-5, 2728-
             6, 2728-7 – Fluor Enterprises Inc.’s Motion for Summary Judgment based
             on Prescription, Memorandum in Support, Statement of Uncontested
             Material Facts, and Exhibits attached to the memorandum
      8.     Case No. 2:07-MD-1873 – Doc. #2729 – Fluor Enterprises Inc.’s Motion for
             Summary Judgment based on Louisiana Tort Immunity for Contractors
      9.     Case No. 2:07-MD-1873 – Doc. #2743-8 – Exhibit to Fluor Enterprises Inc.’s
             Memorandum in Support of it Motion for Summary Judgment Regarding
             Claims Against it Under the Louisiana Products Liability Act
      10.    Case No. 2:07-MD-1873 – Doc. #2743-9 – Fluor Enterprises Inc.’s Statement
             of Uncontested Material Facts in Support of Motion for Summary
             Judgment Regarding Claims Against it Under the Louisiana Products
             Liability Act.
      11.    Case No. 2:07-MD-1873 – Doc. #2765 – Fluor Enterprises Inc.’s Answer to
             the First, Second and Third Amended Complaint




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  12.   Case No. 2:07-MD-1873 – Doc. #2802-15 – Exhibit attached to Fluor
        Enterprises Inc.’s Memorandum in Support of the Motion for Summary
        Judgment based on Government Contractor Defense
  13.   Case No. 2:07-MD-1873 – Doc. #2805, 2805-2, 2805-3 – Plaintiff’s Response
        to Fluor Enterprises Inc.’s Motion for Summary Judgment based on
        Prescription, Exhibit and Plaintiff’s objection to Fluor Enterprises Inc.’s
        Statement of Uncontested Facts
  14.   Case No. 2:07-MD-1873 – Doc. #2889 – Plaintiff’s Response to Fluor
        Enterprises Inc.’s Motion for Summary Judgment based on the
        Government Contractor Defense
  15.   Case No. 2:07-MD-1873 – Doc. #2897, 2897-1, 2897-2, 2897-3, 2897-4, 2897-
        5, 2897-6 – Plaintiff’s Response to Fluor Enterprises Inc.’s Motion for
        Summary Judgment based on Louisiana Tort Immunity for Contractors,
        Exhibits
  16.   Case No. 2:07-MD-1873 – Doc. #2918, 2918-2 – Fluor Enterprises Inc.’s
        Reply to Plaintiff’s Response to the Motion for Summary Judgment based
        on Prescription with attached Exhibit
  17.   Case No. 2:07-MD-1873 – Doc. #3011 – Plaintiff’s Reply to Fluor
        Enterprises Inc.’s Reply to Plaintiff’s Opposition to the Motion for
        Summary Judgment based on Prescription
  18.   Case No. 2:07-MD-1873 – Doc. #3012 – Order and Reasons relating to
        Fluor Enterprises Inc.’s Motion for Summary Judgment based on
        Prescription
  19.   Case No. 2:07-MD-1873 – Doc. #3022 – Fluor Enterprises Inc.’s Reply to
        Plaintiff’s Response to the Motion for Summary Judgment based on the
        Government Contractor Defense
  20.   Case No. 2:07-MD-1873 – Doc. #3023 – Order and Reasons relating to
        Fluor Enterprises Inc.’s Motion for Summary Judgment based on
        Louisiana Tort Immunity for Contractors
  21.   Case No. 2:07-MD-1873 – Doc. #3087 – Fluor Enterprises Inc.’s Proposed
        Jury Charge
  22.   Case No. 2:07-MD-1873 – Doc. #3096 – Plaintiff’s Reply to Fluor
        Enterprises Inc.’s Reply to Plaintiff’s Response to the Motion for Summary
        Judgment based on Government Contractor Defense
  23.   Case No. 2:07-MD-1873 – Doc. # 3070 – Final Pretrial Order
  24.   Case No. 2:07-MD-1873 – Doc. # 3110 – Fluor Enterprises Inc.’s Reply to
        Plaintiff’s Response to the Motion for Summary Judgment Regarding
        Claims Against Fluor under the Louisiana Products Liability Act
  25.   Case No. 2:07-MD-1873 – Doc. # 3489 – Joint Stipulation of Facts


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      26.    Case No. 2:07-MD-1873 – Doc. # 3572, 3572-1 – Fluor Enterprises Inc.’s
             Motion for Judgment as a Matter of Law and Memorandum in Support
      27.    Case No. 2:07-MD-1873 – Doc. # 3625 – Plaintiff’s Response to Fluor
             Enterprises Inc.’s Motion for Judgment as a Matter of Law
      28.    Case No. 2:07-MD-1873 – Doc. # 4147 – Proposed Jury Instructions
      29.    Case No. 2:07-MD-1873 – Doc. # 4149 – Joint Stipulations of Facts
      30.    Case No. 2:07-MD-1873 – Doc. #4757 – Judgment in favor of Gulf Stream
             Coach, Inc. and Fluor Enterprises, Inc. dismissing all claims by Alana
             Alexander individually and/or on behalf of Christopher Cooper with
             prejudice
      31.    Case No. 2:07-MD-1873 – Doc. #5609-17 – Exhibit to Plaintiff’s
             Memorandum in Support of the Motion for a New Trial or, alternatively,
             for Relief from Judgment
      32.    Case No. 2:07-MD-1873 – Portions of the Trial Transcript, as follows.
             Please note, Gulf Stream and Fluor Enterprises, Inc., have pursuant to Fed.
             R. App. P. 10(b)(3)(B) filed and served upon the plaintiff a designation of
             additional parts to be ordered, Rec Doc. 14490. The following are the
             additional parts of the transcript listed in that designation:
             All proceedings of the afternoons of trial on September 14, 2009
             September 15, 2009, September 16, 2009, and September 22, 2009

Designations of Gulf Stream Coach, Inc. (“Gulf Stream”)
      1.     Case No. 2:07-MD-1873 - Trial Exhibit 25, the FEMA unit inspection
             report.
      2.     Case No. 2:07-MD-1873 - Trial Exhibit 46, correspondence of May 11, 2006,
             from P. Savari to D. Lee.
      3.     Case No. 2:07-MD-1873 - Trial Exhibit 165, the 2004 FEMA trailer
             specifications.
      4.     Case No. 2:07-MD-1873 - Trial Exhibit 514, email correspondence of June
             16, 2006, from P. Phillips to S. Miller.
      5.     Case No. 2:07-MD-1873 - Jury instructions from the trial of plaintiff Alana
             Alexander on behalf of her minor child, Christopher Cooper
      6.     Case No. 2:07-MD-1873 - All jury questionnaires from the trial of plaintiff
             Alana Alexander on behalf of her minor child, Christopher Cooper
      7.     Case No. 2:07-MD-1873 - Doc. No. 2410-13, Defendant Gulf Stream Coach,
             Inc.’s Statement of Uncontested Facts in support of its Motion for
             Summary Judgment on Government Contractor Defense



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  8.    Case No. 2:07-MD-1873 – Portions of the Trial Transcript, as follows.
        Please note, Gulf Stream and Fluor Enterprises, Inc., have pursuant to Fed.
        R. App. P. 10(b)(3) filed and served upon the plaintiff a designation of
        additional parts to be ordered. The following are the sections listed by
        Gulf Stream in that designation (Rec. Doc. 14,490).
        a) 9-14, afternoon session
        b) 9-15, afternoon session
        c) 9-16, afternoon session
        d) 9-22, afternoon session


                            Respectfully submitted:

                            FEMA TRAILER FORMALDEHYDE
                            PRODUCT LIABILITY LITIGATION

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                         COACH, INC.




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                             CERTIFICATE OF SERVICE

        I hereby certify that I have served a copy of the above and foregoing with the
Clerk of the Court by using the CM/ECF system which will send a notice of electronic
filing to all counsel of record who are CM/ECF participants. I further certify that I
mailed the foregoing document and the notice of electronic filing on June 24, 2010.


                                       s/Gerald E. Meunier
                                       GERALD E. MEUNIER, #9471




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